         IN THE DISTRICT COURT OF THE UNITED STATES
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     BRYSON CITY DIVISION

                       CRIMINAL NO. 2:06CR16-2


UNITED STATES OF AMERICA )
                         )
                         )
         VS.             )                     ORDER
                         )
                         )
KEVIN PHILLIP MOOSMAN    )
                         )


     THIS MATTER is before the Court on a letter from the Petitioners

Robert and Lynn Moosmann to the United States Attorney, filed February

13, 2007. The Court construes such letter as a motion to withdraw their

Petition for Claim of Ownership of Vehicle.

     For cause shown,

     IT IS, THEREFORE, ORDERED that the Petitioners’ motion to

withdraw their Petition for Claim of Ownership of Vehicle is ALLOWED,

and the petition is hereby DISMISSED.




      Case 2:06-cr-00016-LHT   Document 39    Filed 02/21/07   Page 1 of 2
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                               Signed: February 21, 2007




Case 2:06-cr-00016-LHT   Document 39   Filed 02/21/07      Page 2 of 2
